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 1     CENTER FOR DISABILITY ACCESS
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 9                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
10
11
       Chris Langer,                             Case No.
12
                 Plaintiff,
13                                               Complaint For Damages And
         v.                                      Injunctive Relief For Violations
14                                               Of: American’s With Disabilities
       Soto Washington Investments,              Act; Unruh Civil Rights Act
15     LLC, a California Limited Liability
       Company; and Does 1-10,
16
                 Defendants.
17
18
           Plaintiff Chris Langer complains of Soto Washington Investments,
19
     LLC, a California Limited Liability Company; and Does 1-10 (“Defendants”),
20
     and alleges as follows:
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22
       PARTIES:
23
       1. Plaintiff is a California resident with physical disabilities. He is a
24
     paraplegic who cannot walk and who uses a wheelchair for mobility. He has a
25
     specially equipped van with a ramp that deploys out of the passenger side of
26
     his van and he has a Disabled Person Parking Placard issued to him by the State
27
     of California.
28
       2. Defendant Soto Washington Investments, LLC owned the real property

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 1   located at or about 2806 E. Washington Blvd., Los Angeles, California, in April
 2   2019.
 3     3. Defendant Soto Washington Investments, LLC owns the real property
 4   located at or about 2806 E. Washington Blvd., Los Angeles, California,
 5   currently.
 6     4. Plaintiff does not know the true names of Defendants, their business
 7   capacities, their ownership connection to the property and business, or their
 8   relative responsibilities in causing the access violations herein complained of,
 9   and alleges a joint venture and common enterprise by all such Defendants.
10   Plaintiff is informed and believes that each of the Defendants herein,
11   including Does 1 through 10, inclusive, is responsible in some capacity for the
12   events herein alleged, or is a necessary party for obtaining appropriate relief.
13   Plaintiff will seek leave to amend when the true names, capacities,
14   connections, and responsibilities of the Defendants and Does 1 through 10,
15   inclusive, are ascertained.
16
17     JURISDICTION & VENUE:
18     5. The Court has subject matter jurisdiction over the action pursuant to 28
19   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
20   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
21     6. Pursuant to supplemental jurisdiction, an attendant and related cause
22   of action, arising from the same nucleus of operative facts and arising out of
23   the same transactions, is also brought under California’s Unruh Civil Rights
24   Act, which act expressly incorporates the Americans with Disabilities Act.
25     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
26   founded on the fact that the real property which is the subject of this action is
27   located in this district and that Plaintiff's cause of action arose in this district.
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 1     FACTUAL ALLEGATIONS:
 2     8. Plaintiff went to the property to visit the Shopping Center in April 2019
 3   to eat at Subway with the intention to avail himself of its goods and to assess
 4   the business for compliance with the disability access laws.
 5     9. The Shopping Center is a facility open to the public, a place of public
 6   accommodation, and a business establishment.
 7     10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 8   to provide wheelchair accessible parking in conformance with the ADA
 9   Standards as it relates to wheelchair users like the plaintiff.
10     11. On information and belief the defendants currently fail to provide
11   wheelchair accessible parking.
12     12. These barriers relate to and impact the plaintiff’s disability. Plaintiff
13   personally encountered these barriers.
14     13. As a wheelchair user, the plaintiff benefits from and is entitled to use
15   wheelchair accessible facilities. By failing to provide accessible facilities, the
16   defendants denied the plaintiff full and equal access.
17     14. The failure to provide accessible facilities created difficulty and
18   discomfort for the Plaintiff.
19     15. The defendants have failed to maintain in working and useable
20   conditions those features required to provide ready access to persons with
21   disabilities.
22     16. The barriers identified above are easily removed without much
23   difficulty or expense. They are the types of barriers identified by the
24   Department of Justice as presumably readily achievable to remove and, in fact,
25   these barriers are readily achievable to remove. Moreover, there are numerous
26   alternative accommodations that could be made to provide a greater level of
27   access if complete removal were not achievable.
28     17. Plaintiff will return to the Shopping Center to avail himself of its goods


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 1   and to determine compliance with the disability access laws once it is
 2   represented to him that the Shopping Center and its facilities are accessible.
 3   Plaintiff is currently deterred from doing so because of his knowledge of the
 4   existing barriers and his uncertainty about the existence of yet other barriers
 5   on the site. If the barriers are not removed, the plaintiff will face unlawful and
 6   discriminatory barriers again.
 7     18. Given the obvious and blatant nature of the barriers and violations
 8   alleged herein, the plaintiff alleges, on information and belief, that there are
 9   other violations and barriers on the site that relate to his disability. Plaintiff will
10   amend the complaint, to provide proper notice regarding the scope of this
11   lawsuit, once he conducts a site inspection. However, please be on notice that
12   the plaintiff seeks to have all barriers related to his disability remedied. See
13   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
14   encounters one barrier at a site, he can sue to have all barriers that relate to his
15   disability removed regardless of whether he personally encountered them).
16
17   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
18   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
19   Defendants.) (42 U.S.C. section 12101, et seq.)
20     19. Plaintiff re-pleads and incorporates by reference, as if fully set forth
21   again herein, the allegations contained in all prior paragraphs of this
22   complaint.
23     20. Under the ADA, it is an act of discrimination to fail to ensure that the
24   privileges, advantages, accommodations, facilities, goods and services of any
25   place of public accommodation is offered on a full and equal basis by anyone
26   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
27   § 12182(a). Discrimination is defined, inter alia, as follows:
28             a. A failure to make reasonable modifications in policies, practices,


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 1                or procedures, when such modifications are necessary to afford
 2                goods,    services,    facilities,   privileges,      advantages,   or
 3                accommodations to individuals with disabilities, unless the
 4                accommodation would work a fundamental alteration of those
 5                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 6            b. A failure to remove architectural barriers where such removal is
 7                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 8                defined by reference to the ADA Standards.
 9            c. A failure to make alterations in such a manner that, to the
10                maximum extent feasible, the altered portions of the facility are
11                readily accessible to and usable by individuals with disabilities,
12                including individuals who use wheelchairs or to ensure that, to the
13                maximum extent feasible, the path of travel to the altered area and
14                the bathrooms, telephones, and drinking fountains serving the
15                altered area, are readily accessible to and usable by individuals
16                with disabilities. 42 U.S.C. § 12183(a)(2).
17     21. When a business provides parking for its customers, it must provide
18   accessible parking.
19     22. Here, accessible parking has not been provided in conformance with
20   the ADA Standards.
21     23. The Safe Harbor provisions of the 2010 Standards are not applicable
22   here because the conditions challenged in this lawsuit do not comply with the
23   1991 Standards.
24     24. A public accommodation must maintain in operable working condition
25   those features of its facilities and equipment that are required to be readily
26   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
27     25. Here, the failure to ensure that the accessible facilities were available
28   and ready to be used by the plaintiff is a violation of the law.


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 2   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 3   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 4   Code § 51-53.)
 5      26. Plaintiff repleads and incorporates by reference, as if fully set forth
 6   again herein, the allegations contained in all prior paragraphs of this
 7   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 8   that persons with disabilities are entitled to full and equal accommodations,
 9   advantages, facilities, privileges, or services in all business establishment of
10   every kind whatsoever within the jurisdiction of the State of California. Cal.
11   Civ. Code §51(b).
12      27. The Unruh Act provides that a violation of the ADA is a violation of the
13   Unruh Act. Cal. Civ. Code, § 51(f).
14      28. Defendants’ acts and omissions, as herein alleged, have violated the
15   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
16   rights to full and equal use of the accommodations, advantages, facilities,
17   privileges, or services offered.
18      29. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
19   discomfort or embarrassment for the plaintiff, the defendants are also each
20   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
21   (c).)
22
23             PRAYER:
24             Wherefore, Plaintiff prays that this Court award damages and provide
25   relief as follows:
26           1. For injunctive relief, compelling Defendants to comply with the
27   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
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 1   plaintiff is not invoking section 55 of the California Civil Code and is not
 2   seeking injunctive relief under the Disabled Persons Act at all.
 3       2. Damages under the Unruh Civil Rights Act, which provides for actual
 4   damages and a statutory minimum of $4,000 for each offense.
 5       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 6   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 7
     Dated: June 1, 2020              CENTER FOR DISABILITY ACCESS
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 9
                                      By:
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11                                    ________________________

12                                           Russell Handy, Esq.
                                             Attorney for plaintiff
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